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United States District Court
District of Massachusetts

Genworth Life & Annuity Insurance
Co.

Plaintiff,

Civil Action No.
v. 24-10851-NMG
Manoj Kamal, et al.,

Defendants.

MEMORANDUM & ORDER

GORTON, J.

In this interpleader action brought by plaintiff, Genworth
Life and Annuity Insurance Co. (“Genworth” or “plaintiff”)
against defendants, Manoj Kamal and Sandeep Bedi (collectively,
“defendants”), this Court previously denied the motion of nTech
Connect, Inc. (“nTech”) to intervene. Now pending before the
Court is the motion of nTech for reconsideration of that order.
For the reasons set forth below, the motion to reconsider will
be denied.

I. Background

This case concerns a life insurance policy owned by the
late Teena Kamal. The policy named her husband and daughter as
primary beneficiaries and her brother-in-law, defendant, Manoj
Kamal, as a contingent beneficiary. In response to concerns

over his status as a contingent beneficiary, Genworth filed an

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interpleader suit against defendant, Manoj Kamal, and defendant,
Sandeep Bedi, as administrator of Teena Kamal’s estate, in
April, 2024. Four months later, the parties resolved their
dispute and this Court entered a settlement order of dismissal.
The parties have since filed a written order of settlement.

In the meantime, nTech filed a motion to intervene pursuant
to Fed. R. Civ. P. 24, claiming that it was entitled to part of
the proceeds of Teena Kamal’s life insurance policy based upon
its status as a judgment creditor of her husband. This Court
denied nTech’s motion to intervene and its motion for
reconsideration followed.

II. Legal Standard

Although nTech does not clearly identify the basis of its
motion for reconsideration, such relief is available under both

Fed. R. Civ. P. 59(e) and 60(b). Banister v. Davis, 590 U.S.

504, 506 (2020). A motion brought under Rule 59(e), subject to
the broader standard of relief, must be filed within 28 days of
the entry of judgment, while motions under Rule 60(b), subject
to the narrower standard, can be brought at any time. When a
motion fails to specify its origin, courts presumes it was
brought under Rule 59(e) if it was filed within the 28-day time

limit. Perez-Perez v. Popular Leasing Rental, Inc., 993 F.2d

281, 284 (lst Cir. 1993). In this case, nTech filed its motion

on November 8, 2024, 16 days after the order denying
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intervention, and thus the Court will presume that Rule 59(e)
applies.
Under Rule 59(e), courts have “substantial discretion” and

“broad authority” to allow or deny reconsideration. Ruiz Rivera

v. Pfizer Pharm., LLC, 521 F.3d 76, 81-82 (ist Cir. 2008). The

United States Supreme Court has cautioned, however, that
district courts should allow reconsideration only when faced
with extraordinary circumstances, such as where the initial
order was clearly erroneous and would work a manifest injustice.

Lyons v. Fannie Mae, No. 18-10365-ADB, 2019 WL 1961072 at *2 (D.

Mass. May 1, 2019) (citing Christianson v. Colt Indus. Operating

Corp, 486 U.S. 800, 817 (1988)) (internal punctuation omitted).
Reconsideration should therefore only be “used sparingly”.

Palmer v. Champion Mortg., 465 F.3d 24, 30 (lst Cir. 2006).

To prevail on a motion for reconsideration, the moving
party bears the burden to demonstrate either that 1) there has
been an intervening change in the law, 2) “new and important
evidence,” unavailable at the time the previous order was
entered, has surfaced or 3) the Court committed a manifest error

of law or fact. Davis v. Lehane, 89 F. Supp. 2d 142, 147 (D.

Mass. 2000); Caribbean Mgmt. Group, Inc. v. Erikon LLC, 966 F.3d

35, 44-45 (lst Cir. 2020) (citing Ira Green, Inc. v. Mil. Sales

& Serv. Co., 775 F.3d 12, 28 (1st Cir. 2014)); accord 11 C.

Wright, A. Miller & M. Kane, Federal Practice and Procedure

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§ 2810.1 (3d ed. Supp. 2020). Mere disagreement with the
reasoning or outcome of a prior order is not an adequate basis
for reconsideration and a motion for reconsideration cannot be
used simply to “regurgitate old arguments previously considered

and rejected.” Ofori v. Ruby Tuesday, Inc., 205 F. App’x 851,

852-53 (1st Cir. 2006); Biltcliffe v. CitiMortgage, Inc., 772

F.3d 925, 930 (ist Cir. 2014) (citing Global Naps, Inc. v.

Verizon New Eng., Inc., 489 F.3d 13, 25 (lst Cir. 2007)).

III. Analysis

In its motion for reconsideration, nTech asserts that this
Court, in denying the motion to intervene, erred by
overemphasizing the prejudice to plaintiff if intervention were
allowed. nTech does not assert that 1) there has been an
intervening change in the law, 2) this Court made a manifest
error of law or 3) new evidence regarding its relationship to
this case has surfaced. Instead, nTech disagrees with this
Court’s decision and attempts to relitigate the issue of whether
its motion to intervene after settlement was untimely, neither
of which can form the basis of a meritorious motion for

reconsideration. See Ofori, 205 F. App’x at 852-53; Biltcliffe,

772 F.3d at 930.
To the extent nTech contends that this Court made an error
of fact by finding that post-settlement intervention would

result in prejudice, the Court finds that claim unavailing. As

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this Court previously explained, a party seeking to intervene
must demonstrate that 1) its motion is timely, 2) it has an
interest in the pending action, 3) it will be unable to protect
its interest without intervention and 4) its interest is not
already adequately represented by a party to the case. See REG

Mortg. Corp. v. Fed. Home Loan Mortg. Corp., 584 F.3d 1, 7 (1st

Cir. 2009) (citing Fed. R. Civ. P. 24{a)). Although timeliness
is “fact-sensitive” and depends upon the “totality of the
circumstances,” a motion to intervene that attempts to reopen a
case after the parties had already reached a settlement is

“regarded with particular skepticism.” R & G Mortg. Corp. v.

Fed. Home Loan Mortg. Corp., 584 F.3d 1, 7 (lst Cir. 2009).

At the time nTech moved to intervene, the existing parties
in this case had executed a settlement agreement, meaning that
the timeliness factor weighed heavily against intervention. See

id.; see also UMB Bank, N.A. v. City of Cent. Falls, No. CV 19-

182WES, 2022 WL 17485809, at *4 (D.R.I. Dec. 7, 2022) (denying
motion to intervene where existing parties already reached

settlement); accord Suntrust Bank v. Lodge Constr., Inc., No.

13-80156-CIV, 2013 WL 12085083, at *2 (S.D. Fla. Dec. 5, 2013)
(finding that, where invention would disrupt prior settlement
agreement, “the harm that intervention would work to the

parties is obvious”). Only the most compelling circumstances

would permit such intervention and nTech presents no such
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circumstance here. The mere contention that it might have a
claim to the insurance proceeds at issue in this case (a claim
nTech admittedly described as “unclear”) does not outweigh the
necessity of finality and the need to protect the existing
parties from the “disruptive, late-stage intervention” nTech

seeks. R & G Mortg. Corp., 584 F.3d at 7.

Even if this Court’s prior order focused on the prejudice
to plaintiff instead of the prejudice to other parties, that
does not alter the detriment of intervention in this case. See

& G Mortg. Corp., 584 F.3d at 7 (indicating that a failure to

establish all four requirements of Rule 24(a) “dooms”
intervention from the start). Accordingly, nTech’s motion for

reconsideration will be denied.

ORDER
For the foregoing reasons, the motion of nTech Connect,
Inc., for reconsideration (Docket No. 42) is DENIED.

So ordered.

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Nathaniel M. Gotton
United States District Judge

Dated: April /7, 2025

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